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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

NORRIS ARMSTRONG, et al.,              )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     )                  CIVIL ACTION 03-0148-WS-C
                                       )
HRB ROYALTY, INC., et al.,             )
                                       )
      Defendants.                      )
_______________________________________)
                                       )
HRB ROYALTY, INC., et al.,             )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     )                  CIVIL ACTION 03-0635-WS-C
                                       )
NORRIS ARMSTRONG, et al.,              )
                                       )
      Defendants.                      )

                                                ORDER
        This matter is before the Court on two motions in limine filed by the Block defendants (“Block”)
to prevent plaintiff Armstrong Business Systems, Inc. (“ABS”) from presenting hearsay testimony to
support its claims of slander and intentional interference with business relationships. (Docs. 243, 267).
The parties have filed briefs in support of their respective positions, (Docs. 244, 248, 252, 267, 273,
280), and the motions are ripe for resolution. After carefully considering the foregoing materials, the
Court concludes that the motions are due to be granted.


                                           BACKGROUND
        After it terminated the parties’ franchise agreements, Block set up offices and competed with
ABS during the 2004 tax season. ABS alleges that, in the course of this competition, Block made
certain derogatory statements about ABS and engaged in certain other conduct detrimental to ABS’s
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business. These allegations form the basis of ABS’s claims under Counts Ten through Twelve of the
third amended complaint for slander and intentional interference with business relationships. (Doc. 162
at 28-33).
        With limited exceptions, no representative of ABS purports to have heard a Block
representative make any objectionable remark concerning ABS. Several ABS representatives,
however, have testified that customers reported to them that they had heard Block representatives
make the objectionable remarks. ABS owner Norris Armstrong and general manager Shane
Armstrong have testified that they heard about the objectionable remarks from their employees, who in
turn heard about them from customers. The Armstrongs have also testified as to objectionable conduct
by Block representatives which they did not witness but heard about from others. Finally, Shane
Armstrong, based on reports he received from others, accuses Block representatives of making
derogatory statements about, and directing racial slurs at, ABS employees. Block seeks an order
precluding the plaintiff from presenting or suggesting the existence of “testimony by present or former
ABS employees that they were told by customers that representatives of Block made false or
disparaging statements concerning ABS” or “any hearsay testimony from Norris or Shane Armstrong of
purported defamatory statements or tortious conduct by Block or Block employees.” (Doc. 244 at 5;
Doc. 267 at 6).


                                              DISCUSSION
        ABS first argues that Block’s motions represent an “abuse” of the motion in limine device
because Block had argued on motion for summary judgment that ABS has no admissible evidence to
support its claims of slander and intentional interference. (Doc. 273 at 1). As the Court has previously
noted, “[a] motion in limine is a motion made prior to trial for the purpose of prohibiting opposing
counsel from mentioning the existence of, alluding to or offering evidence on matters so highly
prejudicial to the moving party that a timely motion to strike or an instruction by the court to the jury to
disregard the offending matter cannot overcome its prejudicial influence on the jurors’ minds.” O’Rear
v. Fruehauf Corp., 554 F.2d 1304, 1306 n.1 (5th Cir. 1977)(internal quotes omitted). Such a motion



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is in effect an evidentiary objection made in advance of trial, and the failure of a motion for summary
judgment as to an entire claim scarcely bars an objection to evidence offered in support of the claim. 1
        ABS does not deny that it will rely on employees to testify as to what customers told them that
Block said, and on the Armstrongs to testify as to what employees told them that customers reported
that Block said. Instead, ABS insists that such testimony will not constitute hearsay because it will not
be “offered in evidence to prove the truth of the matter asserted.” Fed. R. Evid. 801(c). ABS’s theory
is that it has no interest in proving that the terrible things Block allegedly said about it are true, so that its
proposed testimony concerning such statements cannot satisfy the definition of hearsay. (Doc. 248 at
1). ABS has correctly quoted Rule 801 but incorrectly identified the critical statement.
        There are four levels of statement implicated here:
        •        Block: “X”
        •        Customer: I heard Block say “X”
        •        Employee: I heard C say that she heard Block say “X”
        •        Armstrongs: I heard E say that he heard C say that she heard Block say “X”
Testimony by Block that it said “X” presumably would constitute the admission of a party opponent and
so not constitute hearsay. Fed. R. Evid. 801(d)(2). As Block apparently concedes, (Doc. 252 at 1-
2), testimony by a customer that she heard Block say “X” would not be hearsay because ABS would
not offer the customer’s testimony to prove “X” but to prove that Block said “X.” However, whether
or not ABS intends to call any customers as witnesses,2 it appears that it will primarily rely on ABS
representatives to prove Block’s alleged tortious statements and conduct.


        1
         ABS relies on Mid-America Tablewares, Inc. v. Mogi Trading Co., 100 F.3d 1353 (7th
Cir. 1996), but that case says only that the sufficiency of evidence to support a claim is properly raised
by motion for summary judgment rather than by motion in limine. Id. at 1362-63. Block does not
herein challenge the sufficiency of ABS’s evidence but rather the admissibility of certain portions of
that evidence. That, of course, is precisely the function of a motion in limine.
        2
         Block states that ABS never adequately identified any customers in its initial and amended
disclosures under Rule 26(a). (Doc. 244 at 2 & n.1). ABS says that it has “listed the subject potential
witnesses for trial,” (Doc. 273 at 2), but it identifies only one listed witness as a customer. (Id. at 3). It
is of course too late for ABS to cure any deficiency in this regard.

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        Testimony by ABS employees that they heard customers say they heard Block say “X” would
constitute hearsay. ABS’s argument focuses on the “Block said ‘X’” portion of the customers’
statements, but ABS cannot prove that Block said “X” without proving that the customers heard Block
say it. Because ABS’s only proof that the customers heard Block say “X” is that the customers said
they did, ABS is necessarily offering their statements to prove the truth of the matter asserted (i.e., that
they heard Block say “X”), and that is classic hearsay. None of ABS’s cited cases is remotely to the
contrary. The challenged testimony by the Armstrongs simply adds a second level of hearsay.
        ABS’s suggestion that it will offer the disputed testimony to prove publication, malice, improper
motivation and damages, (Doc. 248 at 1, 3-6), is beside the point. The testimony may very well be
relevant to those issues, but it is not admissible as long as it fails the hearsay test. See Fed. R. Evid.
402 (“All relevant evidence is admissible, except as otherwise provided by ... these rules ....”); id. Rule
802 (“Hearsay is not admissible except as provided by these rules or by other rules prescribed by the
Supreme Court pursuant to statutory authority or by Act of Congress.”).
        ABS ignores Block’s challenge to Shane Armstrong’s testimony concerning derogatory
statements about, and racial slurs directed to, ABS employees. With respect to the single example
Block discusses in brief, Armstrong’s proposed testimony is captured by the discussion above, because
he admits that his only awareness of the incident comes from the statements of ABS employees that
they heard the comment. (Doc. 267 at 5; id., Exhibit 3 at 74). Even though ABS presumably seeks to
prove only that Block made the offensive comment, it cannot do so without proving that the employees
heard the comment, and Armstrong has only hearsay (the employees’ say-so) to meet this burden.
Although Block provides no additional examples, any that fit this mold will of course be governed by
the same result. This is true as well with respect to any testimony by Shane or Norris Armstrong that
they heard from employees that Block engaged in particular misconduct. (Doc. 267 at 3).


                                             CONCLUSION
        For the reasons set forth above, Block’s motions in limine are granted. ABS and its counsel
are ordered not to present, or suggest the existence of: testimony by present or former ABS



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representatives that they were told by customers that representatives of Block made false or
disparaging statements concerning ABS; testimony by Shane or Norris Armstrong that they were told
by ABS representatives that representatives of Block made false or disparaging statements concerning
ABS or engaged in other tortious conduct concerning ABS; or testimony by Shane Armstrong that he
was told by ABS representatives that representatives of Block made derogatory statements about, or
directed racial slurs toward, any ABS representative.


        DONE and ORDERED this 30th day of November, 2005.


                                                        s/ WILLIAM H. STEELE
                                                        UNITED STATES DISTRICT JUDGE




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